

People v Jones (2023 NY Slip Op 02837)





People v Jones


2023 NY Slip Op 02837


Decided on May 25, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 25, 2023

Before: Manzanet-Daniels, J.P., Singh, Moulton, Shulman, Higgitt, JJ. 


Ind No. 2531/86 Appeal No. 320 Case No. 2021-03655 

[*1]The People of the State of New York, Respondent,
vWalter Jones, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Nicole P. Geoglis of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Elliott Robert Hamilton of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about October 1, 2021, which denied defendant's Correction Law § 168-o(2) petition to modify his sex offender classification from level three to level one or two, unanimously modified, on the facts and in the exercise of discretion, to the extent of designating defendant a level two sex offender, and otherwise affirmed, without costs.
An order denying the modification of a sex offender classification is appealable under the general principles relating to civil appeals contained in CPLR 5701(a) (People v Shaljamin, 164 AD3d 1169 [1st Dept 2018]).
Based on the particular circumstances of this case, including the evidence of rehabilitation set forth by the Board of Examiners of Sex Offenders in its recommendation for a modification to level two, we find, in the exercise of our discretion, that defendant's situation has changed in the decades following his initial SORA adjudication to a degree warranting such a modification (see People v Davis, 179 AD3d 183, 189 [2d Dept 2019]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 25, 2023








